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                       UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF TEXAS
                                                                            FILED
                                                                                 FEB 2 6 202Q.
   CRAIG CUNNINGHAM,                                                        Clerk, U.S. District c >iiurt
                                                                            Eastern District of Tt:xas
   Plaintiff,

   v.



   4Bush Holdings, LLC, Jared Forbush, Desert
   Lake Group, LLC, Darin Toone, and

   John/Jane Does 1-5




   Defendant




                        Plaintiffs Original Complaint and Jury Demand


                                               Parties

   1. The Plaintiff is Craig Cunningham and natural person and was present in Texas for all

        calls in this case in Collin County.

   2. 4Bush Holdings, LLC is a California corporation that can be served via registered

        agent Jared Forbush at 318 W. 250 S. Kaysville, UT 84037

   3. Jared Forbush is a natural person who can be served at 318 W. 250 S. Kaysville, UT

        84037

   4. Desert Lake Group, LLC is a Utah corporation and can be served at 6975 Union Park

        Ave, ste 600, Cottonwood Heights, UT 84047 and can be served via Reg Agent Darin

        Toone 6975 Union Park Ave, ste 600, Cottonwood Heights, UT 84047 or 1421 E.

        Hoover Ave., Phoenix, AZ 85006, 491 E. Riverside Dr., Ste 4A, Saint George, UT
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      84790.

   5. Darin Toone is a natural person and can be served via Reg Agent Darin Toone 6975

      Union Park Ave, ste 600, Cottonwood Heights, UT 84047 or 1421 E. Hoover Ave.,

      Phoenix, AZ 85006, 491 E. Riverside Dr., Ste 4A, Saint George, UT 84790.

   6. John/Jane Does 1- 5 are other liable parties currently unknown to the Plaintiff.

                                JURISDICTION AND VENUE

   7. Jurisdiction. This Court has federal-question subject matter jurisdiction over

      Plaintiffs TCPA clai s pursuant to 28 U.S.C. § 1331 because the TCPA is a federal

      statute. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012). This Court has

      supplemental subject matter jurisdiction over Plaintiffs claim arising under Texas

      Business and Commerce Code 305.053 because that claim: arises from the same

      nucleus of operative fact, i.e.. Defendants telemarketing robocalls to Plaintiff; adds

      little complexity to the case; and doesn’t seek money damages, so it is unlikely to

      predominate over the TCPA claims.

   8. Personal Jurisdiction. This Court has general personal jurisdiction over the

      defendant because they have repeatedly placed calls to Texas residents, and derive

      revenue from Texas residents, and the sell goods and services to Texas residents,

      including the Plaintiff. Defendants have contracted with multiple Texas corporations

      to sell the testing services the corporations offer to Texas residents.

  9. This Court has specific personal jurisdiction over the defendants because the calls at

      issue were sent by or on behalf of all the Defendants in this complaint.

   10. Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(l)-(2)

      because a substantial part of the events giving rise to the claims the calls and sale of
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      goods and services directed at Texas residents, including the Plaintiff occurred in

      this District and because the Plaintiff resides in this District, residing in the Eastern

      District of Texas when he recieved a substantial if not every single call from the

      Defendants that are the subject matter of this lawsuit.

   11. This Court has venue over the defendants because the calls at issue were sent by or on

      behalf of the above named defendants to the Plaintiff a Texas resident.

      THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. §

      227

   12. In 1991, Congress enacted the TCPA in response to a growing number of consumer

      complaints regarding telemarketing.

   13. The TCPA makes it unlawful to make any call (other than a call made for emergency

      purposes or made with the prior express consent of the called party) using an

      automatic telephone dialing system or an artificial or prerecorded voice ... to any

      telephone number assigned to a ... cellular telephone service. 47 U.S.C. §

      227(b)(l)(A)(iii).
   14. The TCPA makes it unlawful “to initiate any telephone call to any residential

      telephone line using an artificial or prerecorded voice to deliver a message without

      the prior express consent of the called party, unless the call is initiated for emergency

      purposes, is made solely pursuant to the collection of a debt owed to or guaranteed by

      the United States, or is exempted by rule or order of the Federal Communication

      Commission (“FCC”). 47 U.S.C. § 227(b)(1)(B).

   15. The TCPA provides a private cause of action to persons who receive calls in violation

      of § 227(b). 47 U.S.C. § 227(b)(3).
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   16. Separately, the TCPA bans making telemarketing calls without a do-not-call policy

      available upon demand. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(d)(1).1

   17. The TCPA provides a private cause of action to persons who receive calls in

      violation of § 227(c) or a regulation promulgated thereunder. 47 U.S.C. § 227(c)(5).

   18. According to findings of the FCC, the agency vested by Congress with authority to

      issue regulations implementing the TCPA, automated or prerecorded telephone calls

      are a greater nuisance and invasion of privacy than live solicitation calls and can be

      costly and inconvenient.

   19. The FCC also recognizes that wireless customers are charged for incoming calls

      whether they pay in advance or after the minutes are used. In re Rules and

      Regulatio s Implementing the Tel. Cons mer Prot. Act of 1991, ISFCCRcd. 14014,

      141151 165 (2003).

   20. The FCC requires “prior express written consent for all autodialed or prerecorded

      telemarketing robocalls to wireless numbers and residential lines. In particular: [A]

      consumer s written consent to receive telemarketing robocalls must be signed and be

      sufficient to show that the consumer: (1) received clear and conspicuous disclosure

      of the consequences of providing the requested consent, i.e., that the consumer will

      receive future calls that deliver prerecorded messages by or on behalf of a specific

      seller; and (2) having received this information, agrees unambiguously to receive

      such calls at a telephone number the consumer designates. In addition, the written

      agreement must be obtained without requiring, directly or indirectly, that the

      agreement be executed as a condition of purchasing any good or service.


   1 See Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017)
   (codifying a June 26, 2003 FCC order).
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   21. In the Matter of Rules & R gulations Implementing the Tel. Con umer Prot. Act of

      1991, 27 FCC Red. 1830, 1844 33 (2012) (footnote and internal quotation marks

      omitted). FCC regulations generally establish that the party on whose behalf a

      solicitation is made bears ultimate responsibility for any violations. In the Matter of

      Rules and Regulations Implementing the Tel. Cons mer Prot. Act of 1991, 10 FCC

      Red. 12391, 12397 13 (1995).

   22. The FCC confirmed this principle in 2013, when it explained that “a seller ... may be

      held vicariously liable under federal common law principles of agency for violations

      of either section 227(b) or section 227(c) that are committed by third-party

      telemarketers. In the Matter of the Joint Petition Filed by Dish NetM'ork, LLC, 28

      FCC Red. 6574, 6574 1 (2013).

   23. Under the TCPA, a text message is a call. Satterfield v. Simon & Schuster, Inc., 569

      F.3d 946, 951 -52 (9th Cir. 2009).

   24. A corporate officer involved in the telemarketing at issue may be personally liable

      under the TCPA. E.g., Jackson Five Star Catering, Inc. v. Season, Case No. 10-


       10010, 2013 US. Disk LEXIS 159985, at *10 (E.D. Mich. Nov. 8, 2013) (“[M]any

      courts have held that corporate actors can be individually liable for violating the

      TCPA where they had direct, personal participation in or personally authorized the

      conduct found to have violated the statute.” (internal quotation marks omitted));

      Ma yland v. Universal Elections, 787 F. Supp. 2d 408, 415— 16 (D. Md. 2011) ( If

      an individual acting on behalf of a corporation could avoid individual liability, the

      TCPA would lose much of its force.”).

                       The Texas Business and Commerce Code 305.053
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   25. The Texas Business and Commerce code has an analogus portion that is related to the

      TCPA and was violated in this case.

   26. The Plaintiff may seek damages under this Texas law for violations of 47 USC 227 or

      subchapter A and seek $500 in statutory damages or $1500 for willful or knowing

      damages.

                                   FACTUAL ALLEGATIONS

   27. This case relates to calls placed selling supplements via illegal text messages

                                        Calls to the Plaintiff

   28. Mr. Cunningham received at least 2 calls from a variety of spoofed caller ID s in

      2020 that contained a message and were initiated using an automated telephone

      dialing system and contained a message to the Plaintiffs cell phone ***.***-7262,

      which is on the national do-not-call list and to ***-***-9191. The text messages were

      soliciting the Plaintiff to purchase a CBD product named First Class Herbalist. The

      Plaintiff identified 4Bush Holdings, LLC and Desert Lake Group, LLC, is the entities

      whose products were being sold.

   29. On each and every text there was a pre-recorded message and was initiated using an

      automated telephone dialing system. The texts failed to properly identify themselves

      as being affiliated with any of the defendants in this case.

   30. These calls were not related to any emergency purpose.

   31. The Plaintiff never consented to recieving automated calls or calls with pre-recorded

      messages from any of the defendants or their agents.

   32. Mr. Cunningham has a limited data plan. Incoming text messages chip away at his

      monthly allotment.
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   33. Mr. Cunningham has limited data storage capacity on his cellular telephone.

      Incoming calls from the defendants consumed part of this capacity.

   34. No emergency necessitated the calls

   35. Each call was sent by an ATDS.

                 Knowing and Willful Violations of Telemarketing Regulations

   36. The defendants knew that they were engaging in an illegal robocalling campaign and

      contracted with an illegal telemarketing entity currently unknown to the Plaintiff.

   37. The defendants knowingly violated the TCPA by initiating automated calls to the

      Plaintiff. The defendants took multiple actions to conceal their identity, which is

      indicative of knowledge that their actions were illegal and the willful nature of the

      violations.

   38. The Defendants did not train its agents engaged in telemarketing on the existence and

      use of any do-not-call list.


   39. INJURY, HARM, DAMAGES, and ACTUAL DAMAGES AS A RES LT OF

      THE CALLS

   40. Defendant s calls banned the Plaintiff by causing the very hann that Congress sought

      to prevent a nuisance and invasion of privacy.

   41. Defendant s calls harmed the Plaintiff by trespassing upon and interfering with

      Plaintiff’s rights and interests in Plaintiff’s cellular telephone.

   42. Defendant’s calls harmed the Plaintiff by trespassing upon and interfering with

      Plaintiff’s rights and interests in Plaintiff’s cellular telephone line.

   43. Defendant’s calls harmed the Plaintiff by intruding upon Plaintiff’s seclusion.

   44. The Plaintiff has been harmed, injured, and damages by the calls including, but not
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       limited to:

• Reduced Device Storage space

• Reduced data plan usage

• Invasion of privacy

• Lost time tending to text messages

• Decreased cell phone battery life

• More freqent charging of my cell phone resulting in reduced enjoyment and usage of my

   cell phone

• Reduced battery usage

• Annoyance

• Frustruation

• Anger

                      The Plaintiffs cell phone is a residential number

   45. The calls were to the Plaintiffs cellular phone ***-***- 1262 which is the Plaintiff s

       personal cell phone that he uses for personal, family, and household use. The Plaintiff

       maintains no landline phones at his residence and has not done so for at least 10 years

       and primarily relies on cellular phones to communicate with friends and family. The

       Plaintiff also uses his cell phone for navigation purposes, sending and receiving

       emails, timing food when cooking, and sending and receiving text messages. The

       Plaintiff further has his cell phone registered in his personal name, pays the cell phone

       from his personal accounts, and the phone is not primarily used for any business

       purpose.

                Violations of the Texas Business and Com erce Code 305.053
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  46. The actions of the defendants violated the Texas Business and Commerce Code

      305.053 by placing automated calls to a cell phone which violate 47 USC 227(b). The

      calls by the defendants violated Texas law by placing calls with a pre-recorded

      message to a cell phone which violate 47 USC 227(c)(5) and 47 USC 227(d) and 47

      USC 227(d)(3) and 47 USC 227(e).

  47. The calls by the defendants violated Texas law by spoofing the caller ID s per 47

      USC 227(e) which in turn violates the Texas statute.


                               I. FIRST CLAIM FOR RELIEF

      (Non-Emergency Robocalls to Cellular Telephones, 47 U.S.C. § 227(b)(1)(A))

                                  (A ainst All Defendants)

          1. Mr. Cunningham realleges and incorporates by reference each and every

  allegation set forth in the preceding paragraphs.


         2. The foregoing acts and omissions of Defendants and/or their affiliates or

  agents constitute multiple violations of the TCP A, 47 U.S.C. § 227(b)(1)(A), by making

  non-emergency telemarketing robocalls to Mr. Cunningham s cellular telephone number

  without his prior express written consent.


         3. Mr. Cunningham is entitled to an award of at least $500 in damages for

  each such violation. 47 U.S.C. § 227(b)(3)(B).

         4. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

  each such knowing or willful violation. 47 U.S.C. § 227(b)(3).

         5. Mr. Cunningham also seeks a permanent injunction prohibiting

  Defendants and their affiliates and agents from making non-emergency telemarketing
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   robocalls to cellular telephone numbers without the prior express written consent of the

   called party.


                                n. SECOND CLAIM FOR RELIEF

          (Telemarketing Without Mandated Safeguards, 47 C.F.R. § 64.1200(d))

                                    (Against All Defendants)

           6. Mr. Cunningham realleges and incorporates by reference each and every

   allegation set forth in the preceding paragraphs and by alleging the defendants called the

   Plaintiff s cell phone which was listed on the National DNC list.

           7. The foregoing acts and omissions of Defendants and/or their affiliates or

   agents constitute multiple violations of FCC regulations by making telemarketing

   solicitations despite lacking:

                   a. a written policy, available upon demand, for maintaining a do-not-

   call list, in violation of 47 C.F.R. § 64.1200(d)(1);2

                   b. training for the individuals involved in the telemarketing on the

   existence of and use of a do-not-call list, in violation of 47 C.F.R. § 64.1200(d)(2);3 and,

                   c. in the solicitations, the name of the individual caller and the name

   of the person or entity on whose behalf the call is being made, in violation of 47 C.F.R. §

   64.1200(d)(4).4

          8. Mr. Cunningham is entitled to an award of at least $500 in damages for

   each such violation. 47 U.S.C. § 227(c)(5)(B).



   2 See id. at 425 (codifying a June 26, 2003 FCC order).
   3 See id. at 425 (codifying a June 26, 2003 FCC order).
   4 See id. at 425 - 26 (codifying a June 26, 2003 FCC order).
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            9. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

    each such knowing or willful violation. 47 U.S.C. § 227(c)(5).

            10. Mr. Cunningham also seeks a permanent injunction prohibiting

    Defendants and their affiliates and agents from making telemarketing solicitations until

    and unless they (1) implement a do-not-call list and training thereon and (2) include the

    name of the individual caller and the defendant s name in the solicitations (3) by placing

    calls to a number registered on the national do-not-call list.


            III.THIRD CLAIM FOR RELIEF: Violations of The Texas Business and

                                       Commerce Code 305.053

            11. Mr. Cunningham realleges and incorporates by reference each and every

    allegation set forth in the preceding paragraphs.

            12. The foregoing acts and omissions of Defendants and/or their affiliates or

    agents constitute multiple violations of the Texas Business and Commerce Code

    305.053, by making non-emergency telemarketing robocalls to Mr. Cunningham s

    cellular telephone number without his prior express written consent in violation of 47

    DSC 227 et seq. The Defendants violated 47 USC 227(d) and 47 USC 227(d)(3) and 47

    USC 227(e) by using an ATDS that does not comply with the technical and procedural

    standards under this subsection.

            13. Mr. Cunningham is entitled to an award of at least $500 in damages for

    each such violation.Texas Business and Commerce Code 305.053(b)
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            14. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

   each such knowing or willful violation. Texas Business and Commerce Code

   305.053(c).


                                   IV. PRAYER FOR RELIEF

            WHEREFORE, Plaintiff Craig Cunningham prays for judgment against

   Defendants jointly and severally as follows:

            A. Leave to amend this Complaint to name additional DOESs as they are

   identified and to conform to the evidence presented at trial;

            B. A declaration that actions complained of herein by Defendants violate the

   TCPA and Texas state law;

            C. An injunction enjoining Defendants and their affiliates and agents from

   engaging in the unlawful conduct set forth herein;

            D. An award of $3000 per call in statutory damages arising from the TCPA

   intentional violations jointly and severally against the corporation and individual for 30

   calls.


            E. An award of $1,500 in statutory damages arising from violations of the

   Texas Business and Commerce code 305.053

            F. An award to Mr. Cunningham of damages, as allowed by law under the

   TCPA;

            G. An award to Mi'. Cunningham of interest, costs and attorneys fees, as


   allowed by law and equity

            H. Such further relief as the Court deems necessary, just, and proper.
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        ra i C m ngha n
       Plaintiff,                   2/25/2020

    Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075
